{¶ 81} I respectfully dissent. While I do not disagree with the sentence imposed by the trial court, I believe the process utilized is constitutionally infirm in light of the United States Supreme Court's decision in Blakely v. Washington.1
  {¶ 82} For the reasons stated in my prior concurring and dissenting opinions, the trial court's sentence violated appellant's Sixth Amendment right to a jury trial, as explained in Blakely v. Washington.2
  {¶ 83} This matter should be remanded for resentencing consistent with Blakely v. Washington.
1 Blakely v. Washington (2004), 542 U.S. 296.
2 See State v. McAdams, 162 Ohio App.3d 318, 2005-Ohio-3895
(O'Neill, J., concurring); State v. Green, 11th Dist. No. 2003-A-0089, 2005-Ohio-3268 (O'Neill, J., concurring); State v.Semala, 11th Dist. No. 2003-L-128, 2005-Ohio-2653 (O'Neill, J., dissenting).